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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION



 SHAYNE ROBERTS                                    §
                                                   §
 v.                                                §           Case No. 4:10-CV-320
                                                   §           Judge Schneider/Judge Mazzant
                                                   §
 AMERICAN AIRLINES, INC.                           §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action, this

 matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

 § 636. On June 22, 2011, the report of the Magistrate Judge was entered containing proposed

 findings of fact and recommendations that Plaintiff’s Motion for Summary Judgment (Dkt. #25) be

 denied and Defendant American Airlines, Inc.’s Motion for Summary Judgment (Dkt. #26) be

 granted.

        The Court, having made a de novo review of the objections raised by Plaintiff, is of the

 opinion that the findings and conclusions of the Magistrate Judge are correct, and the objections are

 without merit. Therefore, the Court hereby adopts the findings and conclusions of the Magistrate

 Judge as the findings and conclusions of this Court.

        It is, therefore, ORDERED that Plaintiff’s Motion for Summary Judgment (Dkt. #25) is




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 DENIED and Defendant American Airlines, Inc.’s Motion for Summary Judgment (Dkt. #26) is

 GRANTED.

       It is SO ORDERED.

       SIGNED this 12th day of July, 2011.




                                                     ____________________________________
                                                     MICHAEL H. SCHNEIDER
                                                     UNITED STATES DISTRICT JUDGE




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